                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA


THE UNITED STATES OF AMERICA,

                      Plaintiff,

                and

KUSKOKWIM RIVER INTER-TRIBAL                      Case No. 1:22-cv-00054-SLG
FISH COMMISSION, et al.

                      Intervenor Plaintiffs

                v.

THE STATE OF ALASKA, et al.,

                      Defendant.


                                              ORDER

          The parties were directed to submit an Amended Scheduling and Planning

Conference Report within 14 days of the Court’s determination of the APA claims.1

The Court’s ruling on the counterclaims was issued on April 6, 2023, when the

parties’ Stipulation was adopted, and no report has since been filed. Accordingly,

within 14 days of the date of this order, the parties shall file an Amended

Scheduling and Planning Conference Report that proposes a schedule for the

pretrial management of all remaining claims in this action. See Fed. R. Civ. P.

26(f) and Local Rule 16.1.



1
    Dkt. 49.




               Case 1:22-cv-00054-SLG Document 66 Filed 05/05/23 Page 1 of 2
      DATED this 5th day of May, 2023, at Anchorage, Alaska.

                                         /s/ Sharon L. Gleason
                                         UNITED STATES DISTRICT JUDGE




Case No. 1:22-cv-00054-SLG, USA v. SOA
Order
Page 2 of 2
        Case 1:22-cv-00054-SLG Document 66 Filed 05/05/23 Page 2 of 2
